                     Case 20-10343-LSS         Doc 1533      Filed 10/16/20      Page 1 of 1


                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE


        In re:                                                 Chapter 11

        BOY SCOUTS OF AMERICA AND                              Case No. Case No. 20-10343 (LSS)
        DELAWARE BSA, LLC,
                                                               (Jointly Administered)
                                Debtors.


                          MOTION AND ORDER FOR ADMISSION PRO HAC VICE
        Pursuant to Local Rule 9010-1 and the attached certification, counsel moves the admission pro hac vice of
Jessica C. K. Boelter of White & Case LLP, 1221 Avenue of the Americas, New York, NY 10020-1095 to represent
the Debtors, in the above-captioned case and any related proceedings.

Dated: October 16, 2020                             MORRIS, NICHOLS, ARSHT & TUNNELL LLP
       Wilmington, Delaware
                                                    /s/ Eric W. Moats
                                                    Eric W. Moats (No. 6441)
                                                    1201 North Market Street
                                                    P.O. Box 1347
                                                    Wilmington, DE 19899-1348
                                                    Telephone: (302) 658-9200

                   CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE
        Pursuant to Local Rule 9010-1, I certify that I am eligible for admission to this Court, and am admitted,
practicing, and in good standing as a member of the Bar of the States of Illinois and New York. I submit to the
disciplinary jurisdiction of this Court for any alleged misconduct which occurs in the preparation or course of this
action. I also certify that I am generally familiar with this Court’s Local Rules and with the Standing Order for
District Court Fund revised 8/31/16. I further certify that the annual fee of $25.00 has been paid to the Clerk of
Court for District Court.

Dated: October 16, 2020                               /s/ Jessica C. K. Boelter
                                                      Jessica C. K. Boelter
                                                      WHITE & CASE LLP
                                                      1221 Avenue of the Americas
                                                      New York, NY 10020-1095
                                                      Telephone: (212) 819-8200
                                                      Email: jessica.boelter@whitecase.com


                                        ORDER GRANTING MOTION

       IT IS HEREBY ORDERED that counsel’s motion for admission pro hac vice is granted.
